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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                 Plaintiff,                                  4:12CR3059
    vs.
                                                               ORDER
TEO VAN PHAN, NHU VAN PHAN,
HOA VAN HUYNH, KIM NGUYEN,
TANG (JANNY) NGUYEN, THUY
NGUYEN,
                 Defendants.



    IT IS ORDERED:

    1)    The motion of attorney Joshua D. Barber to withdraw as counsel of record
          for defendant Kim Nguyen, (filing no. 62), is granted.

    2)    The clerk shall delete Joshua D. Barber from any future ECF notifications
          herein.

    June 26, 2012.

                                               BY THE COURT:
                                               s/ Cheryl R. Zwart
                                               United States Magistrate Judge
